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         UNITED STATES OF AM ERICA,                )
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                             Plaintiftl            )        CaseNo.2:11-cr-257-JCM-GW F
     9                                             )
    10            vs.                              )        ORDER M ODIFYING BOND
       JUDIAH LUKE                                 )
                    HOFFM AN,                      )
    11 KELE ELIZABETH HOFFM AN,                    )
    12                                             )
                        Defendants.                )
    13
               TheCourtconducted a heming on defendantJudiah LukeHoffm an'sM otion to M odify
    14
         ConditiensofRelease,Docum ent#20,on Septem ber23,2011. The Courtm odifiedM z.
    15
         Hoffm an'sBond,Document//16,asfollowstthecondition thatM r. Hoffm an have no conu ct
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         with co-defendantKele Elizabeth Hoffman wasstricken,accordingly, thecondition thatKele
    17
         EliM beth Hoffman haveno contactwith co-defendantJudiallLlzke Hoffm an isstricken from her
    18
         Bond,Document*10. Allotherconditionsofreleasepreviouslyimposed forDefendantJudiah
    19
         LukeHoffman and DefendantKele Elizabeth Hoffman rem ain in fulleffect.
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    22                                                    DATED this )% --
                                                                        dayofSeptember, 2011.

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